                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                      Case No. 17-40437

LUANA A. EDWARDS-WHITE,                                     Chapter 13

                 Debtor.                                    Judge Thomas J. Tucker
                                       /

                 ORDER GRANTING CREDITOR’S MOTION FOR
         RECONSIDERATION (DOCKET # 43), AND VACATING THE COURT’S
                    APRIL 19, 2017 ORDER (DOCKET # 41)

        This case is before the Court on the motion by creditor Ally Financial Inc., entitled
“Motion of Ally Financial Inc. for Relief from Order Establishing ‘Crammed Down’ Value of
Collateral of Ally Financial,” filed April 19, 2017 (Docket # 43, the “Motion”). The Motion
seeks reconsideration of, and relief from, the Court’s April 19, 2017 order entitled “Order
Establishing ‘Crammed Down’ Value of Collateral of Ally Financial” (Docket # 41, the “April
19 Order”). The Debtor filed a response to the Motion on May 3, 2017 (Docket # 54).

       The Court has reviewed and considered the Motion and Debtor’s response. The Court
concludes that a hearing on the Motion is not necessary, and that the Motion should be granted.

       Debtor’s response to the Motion admits the allegations of paragraphs 9-11 of the Motion.
From this and from the April 19, 2017 e-mail sent by Debtor’s counsel to Creditor’s counsel
(copy attached as part of Exhibit 6 to the Motion), it is clear that Debtor’s counsel agreed on
April 19, 2017 (at 8:09 a.m.) to Creditor’s April 18, 2017 request for an extension of time until
April 25, 2017 for Creditor to respond to the Debtor’s valuation motion. Given this, Debtor’s
counsel clearly should not have filed the Certificate of Non-Response that was filed later on the
morning of April 19, 2017 (at 10:28 a.m.) (Docket # 39), and Debtor’s counsel should not have
submitted to the Court the proposed order granting the valuation motion that day. And the April
19 Order should not have been entered. Under these circumstances, Debtor’s opposition to the
Motion is untenable, and the Motion will be granted.

         Accordingly,

         IT IS ORDERED that:

1. The Motion (Docket # 43) is granted.

2. The April 19 Order (Docket # 41) is vacated.

3. Ally Financial Inc. must file a response to the Debtor's March 29, 2017 motion, entitled




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"Motion to Establish 'Crammed Down' Value of Collateral” (Docket # 35) no later than May 12,
2017.


Signed on May 5, 2017                                /s/ Thomas J. Tucker
                                                     Thomas J. Tucker
                                                     United States Bankruptcy Judge




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